    Case 4:21-cv-00280 Document 40-5 Filed on 09/28/21 in TXSD Page 1 of 1




                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

DYNAENERGETICS EUROPE GMBH,
and DYNAENERGETICS US, INC.,

       Plaintiffs,
                                              Civil Case No.: 4:21-cv-00280
       v.

NEXUS PERFORATING LLC,

       Defendant.

                                    [PROPOSED] ORDER

       Before the Court is Defendant Nexus Perforating, LLC’s Motion to Stay Litigation

Pending Post-Grant Reviews and Ex Parte Reexamination. Having considered the motion,

submissions, and applicable law, the Court determines the motion should be granted.

       The Court hereby ORDERS that Defendant’s Motion to Stay Litigation Pending Post-

Grant Reviews and Ex Parte Reexamination is GRANTED.

       The Court further ORDERS that this case is stayed pending Post-Grant Reviews and/or

reexamination of the ‘697 Patent.

IT IS SO ORDERED.

Signed at Houston Texas, this _____ day of ____________________, 2021.


                                                   ___________________________
                                                   Chief Judge Lee H. Rosenthal
                                                   Chief United States District Judge




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